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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF OKLAHOMA

ANTHONY P. TUFARO,                              )
                                                )
               Plaintiff,                       )
                                                )
v.                                              )      Case No. CIV-20-1138-J
                                                )
STATE OF OKLAHOMA,                              )
ex rel. THE BOARD OF REGENTS FOR                )
THE UNIVERSITY OF OKLAHOMA, et al.,             )
                                                )
               Defendants.                      )

                                           ORDER

       Before the Court is Plaintiff’s amended motion to file excess pages, which Defendants do

not oppose.    [Doc. No. 9] Upon review and for good cause shown, Plaintiff’s motion is

GRANTED. Plaintiff may file a combined response to Defendants’ Motions to Dismiss [Doc.

Nos. 5, 6, 7] not to exceed 30 pages.

       Additionally, none of Plaintiff’s attorneys has filed an entry of appearance in accordance

with LCvR83.4. In order to remain on the docket, Courtney Jo Davis Powell, George S. Freeman,

and Shannon F. Davies shall file their entries of appearance by December 15, 2020.

       IT IS SO ORDERED this 8th day of December, 2020.
